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                         THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

                Plaintiff,

        v.                                          CIVIL ACTION NO. 1:21-cv-00630-MN

 MARCH NETWORKS, INC.,


                Defendant.



       JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiff Rothschild Broadcast Distribution Systems, LLC and Defendant March Networks,

Inc., by their respective undersigned counsel, hereby STIPULATE and AGREE as follows:

       1.      All claims asserted by the Plaintiff in this Action are dismissed with prejudice under

Fed. R. Civ. P. 41(a)(1)(A)(ii);

       2.      Each party shall bear its own costs and attorneys’ fees with respect to the matters

dismissed hereby;

       This Stipulation and Order shall finally resolve the Action between the parties.




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Dated: July 12, 2021.                 Respectfully submitted,

                                      GAWTHROP GREENWOOD, PC

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SO ORDERED this _____ day of ____, 2021.



                                      United States District Court Judge




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